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February 25, 2025

VIA ECF

The Honorable Robert M. Illman
U.S. District Court for the Northern District of California
Eureka-McKinleyville Courthouse
3140 Boeing Ave.
McKinleyville, CA 95519

Re: In re OpenAI ChatGPT Litigation, Master File No. 23-cv-3223-AMO

Dear Judge Illman:

Pursuant to paragraph 4 of the Court’s General Standing Order, the parties submit this joint
discovery letter brief concerning Defendant OpenAI OpCo, LLC’s requests for production to
Plaintiffs Kadrey, Silverman, Golden, Greer, Diaz, Hwang, Klam, Snyder, Lippman, Coates, and
Woodson 1 (“Plaintiffs”) for certain materials from the Kadrey et al. v. Meta Platforms, Inc., No.
3:23-cv-03417-VC, in which all are plaintiffs. Specifically, OpenAI seeks (a) Plaintiffs’ responses
to interrogatories and requests for admission; (b) expert witness materials disclosed by Plaintiffs;
and (c) the complete transcripts of any depositions of those experts. The parties conferred
regarding the matters addressed herein via video conference on February 6, 2025, and have
conferred via email both before and after the video conference.




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 Plaintiff Tremblay is not a plaintiff in Kadrey et al. v. Meta Platforms, Inc., No. 3:23-cv-03417-
VC. As such, the requests at issue–and thus this motion–are not directed at him.
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OpenAI’s Statement. In parallel to suing OpenAI, Plaintiffs filed separate lawsuits against Meta
Platforms, Inc., asserting copyright infringement claims that are materially identical to the claims
here. See Kadrey v. Meta Platforms, Inc., No. 3:23-cv-03417 (N.D. Cal.). In both cases, Plaintiffs
allege that the defendants engaged in the same alleged conduct (training large language models
using Plaintiffs’ books) and caused the same alleged harms (depriving Plaintiffs of payments for
use of their asserted works as training data). Given the substantial overlap between the legal and
factual issues in Kadrey and this case, OpenAI sought specific, targeted discovery from Plaintiffs
from the Kadrey case: (a) Plaintiffs’ responses to interrogatories and requests for admission
(“RFAs”), Ex. A (RFPs 88/89/90); (b) expert witness materials disclosed by or on behalf of
Plaintiffs, Ex. B (RFPs 86/87/88); and (c) deposition transcripts and exhibits for Plaintiffs’ expert
witnesses, Ex. C (RFPs 87/88/89). Plaintiffs cannot seriously dispute that Kadrey materials are
relevant here–indeed, that relevance is presumably why Plaintiffs already produced their Kadrey
deposition transcripts in this case. Plaintiffs instead contend that OpenAI’s requests are allegedly
overbroad because Kadrey involves a different company’s large language models (“LLMs”), and
that requiring the discovery here will harm Meta. However, OpenAI explicitly agreed to exclude
from its request expert materials and testimony that solely address technical matters related to the
Meta LLMs at issue in Kadrey. And the Kadrey Protective Order has a provision to address the
speculative concerns Plaintiffs raise regarding the potential for court-ordered production of
designated materials. See Kadrey, ECF No. 90 ¶ 10. Plaintiffs nevertheless rejected OpenAI’s
narrowed proposal, thus necessitating this motion.

Instead of addressing the discovery OpenAI seeks, Plaintiffs contend they should not have to
produce “all documents” or “cloned discovery” from Kadrey. OpenAI does not seek either.
Rather, OpenAI seeks specific, highly relevant discovery from a case involving “significant factual
and legal overlap” with this one. See Schneider v. Chipotle Mexican Grill, Inc., No. 16-cv-02200,
2017 WL 1101799, at *4 (N.D. Cal. Mar. 24, 2017). Courts regularly order such discovery. See,
e.g., id. at *4 (ordering party to provide discovery from another case involving claims brought
under the same law); Hall v. Marriott International, Inc., 2021 WL 1906464, at *7 (S.D. Cal. May
12, 2021) (ordering party to produce “deposition transcripts, interrogatory responses, [and]
responses to requests for admission” from another case involving substantially similar claims and
factual allegations). Indeed, that is what the court did in In re Uber Techs., Inc., Passenger Sexual
Assault Litig., on which Plaintiffs rely. No. 23-md-03084, 2024 WL 4950060, at *1 (N.D. Cal.
Dec. 2, 2024) (ordering production of discovery from another case involving the same defendant
because it bore on the “claims in this MDL”). Such discovery is relevant not only to overlapping
legal and factual issues, but also “to identify changes in positions taken by” the party from whom
the discovery is sought. Finjan, Inc. v. ESET, LLC, No. 17-cv-183, 2018 WL 5263243, at *6 (S.D.
Cal. Oct. 23, 2018); see Bernstein v. Travelers Ins. Co., 447 F. Supp. 2d 1100, 1105–06 (N.D. Cal.
2006) (material that may provide “grounds for challenging or testing positions taken during the
litigation” is relevant).

Given the significant factual and legal overlap between Kadrey and this case, Plaintiffs should be
required to produce the targeted discovery OpenAI seeks–Plaintiffs’ expert reports, expert
deposition transcripts, and written discovery responses. Contrary to Plaintiffs’ argument, the
overlap here is not just legal–it is factual too: nine Plaintiffs allege copyright infringement of the
exact same books, in the exact same manner, for the exact same purpose–to create the same type
of technology (LLMs)–actions that most Plaintiffs claim caused the exact same harm. The two
other Plaintiffs assert materially identical claims based on other works. See id. That is presumably

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why every Plaintiff who was asked in their Kadrey deposition admitted that they are alleging that
the “same thing happen[ed]” in “very similar cases” that resulted in the “same” alleged harm, and
they are unaware of any material “differences” between the cases (other than the defendants).
Those admissions make sense given that Plaintiffs’ factual and legal allegations in the two cases
are often indistinguishable. The alleged acts of infringement are the same. Compare ECF No.
120 66 (“OpenAI made copies of Plaintiffs’ books during the training process of the OpenAI
Language Models without Plaintiffs’ permission.”), with Kadrey, ECF No. 407 ¶ 100 (“Meta made
copies of the Infringed Works during the training process to develop Llama without Plaintiffs’
permission.”). The alleged method of the asserted infringement is the same. Compare ECF No.
120 ¶ 2 (“[A] large language model is ‘trained’ by copying massive amounts of text and extracting
expressive information from it.” ), with Kadrey, ECF No. 407 ¶ 34 (“During training, the large
language model copies each piece of text in the training dataset and copies expressive information
from it.”). The way the technology at issue works is allegedly the same. Compare ECF No. 120
¶ 3 (“A large language model’s output is therefore entirely and uniquely reliant on the material in
its training dataset.”), with Kadrey, ECF No. 407 ¶ 4 (“A large language model’s output is entirely
and uniquely reliant on the material in its training dataset.”). And the positions Plaintiffs assert
regarding defendants’ alleged conduct is the same. Compare ECF No. 120 ¶ 64 (“Plaintiffs never
authorized OpenAI to make copies of their books, make derivative works, publicly display copies
(or derivative works), or distribute copies (or derivative works).”), with Kadrey, ECF No. 407 ¶
99 (“Plaintiffs never authorized Meta to make copies of their Infringed Works, make derivative
works, publicly display copies (or derivative works), or distribute copies (or derivative works).”).

Plaintiffs concede that cross-production is appropriate “to the extent that the facts overlap.” Here,
the overlap is extensive and includes: (1) whether Plaintiffs own the copyrighted works they assert
in both cases (relevant to Plaintiffs’ infringement claim); (2) whether a relevant market for
Plaintiffs’ works has been harmed by the conduct at issue (relevant to the defendants’ primary
defense in both cases–fair use, compare ECF No. 33 at 2, with Kadrey, ECF No. 23 at 8); and (3)
what caused the harm Plaintiffs claim to have suffered, which, for example, Plaintiff Hwang
admitted is the “same harm” in both cases. Plaintiffs attempt to distract from that reality by
likening the issue here to that addressed in the Order at ECF No. 140. That Order, however,
addressed Plaintiffs’ generalized request for cross production of all OpenAI discovery from
another case. Here, in contrast, OpenAI has propounded specific RFPs targeting narrow discovery
that is highly relevant to Plaintiffs’ claims and OpenAI’s defenses in this case.

Interrogatories and RFAs. The written discovery served in Kadrey addresses matters directly
relevant here. That discovery sought, inter alia, details on Plaintiffs’ claims of ownership of their
asserted works, Plaintiffs’ positions on the markets for those works, and admissions regarding
whether Plaintiffs have licensed those works to train LLMs. See, e.g., Kadrey, ECF No. 340.
Plaintiffs’ positions on those issues–where the same works are asserted, the same alleged market
and market harm is claimed, and the same damages are asserted–are directly relevant to Plaintiffs’
claims of copyright infringement and OpenAI’s fair use defense in this case. See Gray v. Hudson,
28 F. 4th 87, 96 (9th Cir. 2022); Seltzer v. Green Day, Inc., 725 F.3d 1170, 1179 (9th Cir. 2013).
For example, in response to an interrogatory about awareness of alleged infringement of Plaintiffs’
works, Plaintiff Woodson said that she “believes that her copyrighted Asserted Works were
infringed and continue[] to be infringed by the LLaMA, Books3, The Pile programs, OpenAl
models, and ChatGPT applications.” (Emphasis added.)


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Expert discovery. The categories of expert witness documents Plaintiffs have refused to produce
are also directly relevant to critical aspects of Plaintiffs’ theories in this case. For example, one
key issue that will undoubtedly require expert testimony in both cases is whether Plaintiffs are able
to distinguish the harm or apportion damages allegedly caused by Meta versus OpenAI versus
other LLM developers, as is evident from Plaintiffs’ Kadrey deposition transcripts already
produced in this action.

                                                              . Plaintiffs’ experts in both cases will
almost certainly also opine on core issues common to both cases, such as (a) the traditional or
potential markets for Plaintiffs’ works and any alleged harm to such markets; (b) whether a market
to license books to train LLMs exists; and (c) Plaintiffs’ alleged damages, including an assessment
of royalties generated by the asserted works common to both cases. Courts recognize that, in such
circumstances, the materials OpenAI is seeking here are relevant and thus discoverable. See, e.g.,
Apple Inc. v. Samsung Elecs. Co., No. 12-cv-0630, 2013 WL 3246094, at *22 (N.D. Cal. June 26,
2013) (in case about FaceTime, ordering Apple to produce discovery from another case showing
“Apple’s positions regarding customer instructions for FaceTime, its damages expert’s opinions
about the demand for FaceTime, and evidence about its methods for apprising itself about patents
relating to FaceTime” because “all [are] relevant to Samsung’s [patent infringement] claims”); see
also Finjan, 2018 WL 5263243, at *5-6 (ordering production of “trial testimony, deposition
testimony, deposition exhibits, and expert reports from [plaintiff’s] prior litigations concerning
one or more asserted patents” because such discovery is “relevant to identify changes in positions
taken by [the plaintiff]”). OpenAI respectfully requests that the Court grant OpenAI’s request.

Plaintiffs’ Statement: This Court has already once denied cloned discovery from the parallel case
involving OpenAI pending in the Southern District of New York. Then, OpenAI argued that cloned
discovery was inappropriate because the cases raised “different claims against different
defendants” and “would result in the production of materials that are irrelevant to this case.” (ECF
No. 139 at 4). OpenAI is now speaking out of the other side of its mouth by seeking cloned
discovery that is even more attenuated. For the same reasons, the Court should deny OpenAI’s
request for discovery from the Kadrey v. Meta case, which is even more unlike this case than
Authors Guild. OpenAI has failed to meet its burden to establish that all the documents it seeks are
relevant to this case. Although the Meta case involves similar legal claims by some of the same
Plaintiffs, that is where the similarities end; the Meta case is premised on different conduct by a
different defendant. “[S]imilarities or overlap alone are insufficient to justify ‘a carte blanche
production of all documents from [other] cases.’” Multiple Energy Techs., LLC v. Under Armour,
Inc., 2023 WL 2529187, at *7 (W.D. Pa. Feb. 21, 2023) (quoting Chen v. Ampco Sys. Parking,
2009 WL 2496729, at *2 (S.D. Cal. Aug. 14, 2009)). While Plaintiffs have not disputed that certain
discovery from the Meta case may be relevant to this case (and have willingly cross-produced
Plaintiffs’ deposition transcripts and relevant documents) OpenAI’s indiscriminate requests for all
of Plaintiffs’ discovery responses and expert discovery—which largely deal specifically with
Meta’s conduct and Meta’s large language model—is overbroad. Moreover, producing these
documents which contain significant protected material, including the highly sensitive proprietary
information of OpenAI’s direct competitor, would impose an undue burden on Plaintiffs and the
third-party, Meta.
   I.       OpenAI Does Not Meet Its Burden to Show Relevance
Courts in the Ninth Circuit generally disfavor “piggyback” discovery requests. See Racing Optics

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v. Aevoe Corp, 2016 WL 4059358, at *1 (D. Nev. July 28, 2016); Goro v. Flowers Foods, Inc.,
2019 WL 6252499, at *18 (S.D. Cal. Nov. 22, 2019) (“Asking for all documents produced in
another matter is not generally proper.”). Instead, in order to meet the relevance required by Rule
26 and the particularity required by Rule 34, the party seeking discovery from another case “must
specifically ask for the documents he wants and be able to demonstrate that the information he
seeks is relevant to his claims in this case.” Chen v. Ampco Sys. Parking, 2009 WL 2496729, at
*3. OpenAI has not met this burden.
The cases do not have the same legal claims: OpenAI misrepresents the type of similarity
necessary for “piggyback” discovery. Courts have ordered cross-discovery in instances where the
cases “‘have significant factual and legal overlap’ and involve the same legal claims.” In re Uber
Techs., Inc., Passenger Sexual Assault Litig., 2024 WL 4950060, at *1 (N.D. Cal. Dec. 2, 2024)
(quoting Schneider v. Chipotle Mexican Grill, Inc, 2017 WL 1101799, at *4 (N.D. Cal. Mar. 24,
2017)). The cases OpenAI relies on involve the (1) same or similar legal claims (2) based on the
same conduct, and (3) by the same defendant. In other words, discovery in those cases was relevant
because they had the same legal and factual basis. In Schneider v. Chipotle Mexican Grill, Inc,
both cases brought the same claims based on the same conduct against the same defendant, with
the only difference being the residence of the class members. 2017 WL 1101799, at *2. Similarly,
in Hall v. Marriott International, Inc. the court ordered cross discovery where the claims were
brought against the same defendant, were based on the same conduct, and had the same or similar
elements. 2021 WL 1906464, at *7 (S.D. Cal. May 12, 2021).
This case and the Meta case are missing that necessary factual nexus. Here, Plaintiffs claims are
brought against an entirely different defendant and have a different factual basis. The similarities
OpenAI points to are elements of legal claims, not factual overlap. It would defy credulity if a
party could compel discovery from any case simply alleging a similar legal theory. In fact, courts
have been reticent to order cross-discovery even where the claims have only minor differences.
See, e.g. Chen v. Ampco Sys. Parking, 2009 WL 2496729, at *2 (denying motion to compel cross-
discovery, even where the claims were based on the same defendant’s same conduct, because the
other cases were, inter alia, in a “more advanced phase of discovery” and “involve[d] different . .
. time periods”). OpenAI has previously recognized that a difference in defendants and claims
makes cross-discovery requests overboard and irrelevant. In response to Plaintiffs’ motion to
compel cross-discovery from the Authors Guild case, OpenAI argued that cloned discovery was
inappropriate because the cases raised “different claims against different defendants” and “would
result in the production of materials that are irrelevant to this case.” (ECF No. 139 at 4). The same
principle holds even stronger here where none of the defendants or factual bases for the claims are
the same.
The discovery is overbroad and irrelevant: The production of all Plaintiffs’ discovery responses
and expert discovery would result in the production of irrelevant material in contravention of Rule
34. “Sweeping requests for ‘all documents’ that may encompass swaths of both relevant and
irrelevant documents do not satisfy Rule 34’s ‘reasonable particularity’ standard.” See Life Alert
Emergency Response, Inc. v. Connect America.com LLC, 2015 WL 12765465, at *7 (C.D. Cal.
Jan. 23, 2015). For example, many of the interrogatories and requests for admissions issued by
Meta sought information related to Plaintiffs’ contentions about Meta’s conduct or the numerous
additional and different works at issue in that action. Similarly, Plaintiffs’ expert discovery deals
with Meta’s conduct, the particular training data Meta used, the way Meta processed and used
Plaintiffs’ copyrighted works, the technical details of Meta’s large language models, and the

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particular harm caused by Meta’s conduct. OpenAI has never explained how Meta’s conduct, or
Meta’s different language model is relevant here.
Even where courts have ordered the cross-production of discovery, they have ordered it only to
the extent that the facts overlap. In In re Uber Techs., Inc., Passenger Sexual Assault Litig., for
example, the court ordered the production of deposition transcripts for “witnesses who are also
scheduled to be deposed in this case” and other transcripts and exhibits related to particular
enumerated topics. 2024 WL 4950060, at *2. See also Rumble, Inc. v. Google LLC, 2023 WL
3751797, at *8 (N.D. Cal. May 31, 2023). Here, not only is there little factual overlap, OpenAI
has not targeted its discovery to areas where there may be overlap. Plaintiffs provided OpenAI
with an opportunity to narrow the scope of its requests to be more particularized and relevant to
the facts at issue in this case. But instead, OpenAI proposed a meaningless exclusion of expert
material which “solely
                  - - - - address technical matters related to the LLMs at issue in Kadrey.” Not only
does that exclusion fail to communicate what particular documents are being sought, OpenAI well
knows that expert reports will not solely address any technical matter, but will instead necessarily
provide general background information as well. And while OpenAI now, in the course of briefing,
lists specific topics and categories of documents it seeks, OpenAI did not even attempt to narrow
these requests during the conferral process. Much of OpenAI’s brief merely obfuscates the fact
that the requests as written are hopelessly overbroad. Accordingly, the Court should reject
OpenAI’s bid for this overbroad and irrelevant discovery. See Pac. Wine Distributors, Inc. v. Vitol
Inc., 2022 WL 1489474, at *2 (N.D. Cal. May 11, 2022) (requiring the party to “seek more targeted
discovery” where it could not show that all of the documents sought were relevant).
    II.      Producing Protected Material Imposes an Undue Burden
Even if OpenAI were able to establish that some of the documents it seeks are relevant, production
of that material would impose an undue burden on both Plaintiffs and third-party Meta. See Fed.
R. Civ. P. 26(b)(1); Pac. Wine Distributors, 2022 WL 1489474, at *2 (“Every time a business is
required to permit its confidential information to be shared there is a risk, and thus a burden, that
it will not be maintained as confidential notwithstanding protective orders.”) Because the material
being sought by OpenAI largely involves a different defendant and different technical model,
much of the material is designated highly confidential under that case’s protective order. The
burden of reviewing and redacting documents which are riddled with highly sensitive proprietary
information would plainly be heavy. Plaintiffs did not designate the information, and Plaintiffs
should not have to guess what information Meta considered confidential, particularly when
guessing wrong would mean the violation of a court order.
When confronted with Plaintiffs’ serious concerns about the confidential nature of the material
sought, OpenAI blithely responded that Plaintiffs could simply seek permission from Meta or
request the court in that case to amend the protective order, despite having itself taken extreme and
burdensome measures to protect its information in this case. But this does not solve the problem.
The protective order in the Meta case allows for disclosure only upon issuance of a subpoena or
court order compelling production, and allows the designating party the right to then seek a
protective order in the court ordering production. See Kadrey v. Meta Platforms, Inc., No. 3:23-
cv-03417, Dkt. No. 90, (N.D. Cal. Jan. 25, 2024). However, Meta must “bear the burden and
expense of seeking protection in that court of its confidential material.” Id.
At bottom, OpenAI has failed to establish that its broad request for discovery from a different case
is relevant here. And even if it could, the importance of that discovery does not outweigh the
substantial burden to its third-party competitor. The Court should deny OpenAI’s request.

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Dated: February 25, 2025                 Respectfully Submitted,

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                                         ATTTESTATION

       I, Elana Nightingale Dawson, am the ECF user whose user ID and password authorized the

filing of this document and exhibits. Under Civil L.R. 5-1(i)(3), I attest that all signatories to this

document have concurred in their filing.

Dated: February 25, 2025                               /s/ Elana Nightingale Dawson




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